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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                              )
EBONY TATE, for herself and on behalf of her  )
minor children, E’MONIE BOOTH, LA’NIYA        )
BOOTH, LEGEND BOOTH and LAKAI’YA              )
BOOTH; and CYNTHIA EASON,                     )
                                              )
                           Plaintiffs,        )   Case No. 18-cv-07439
v.                                            )
                                              )
THE CITY OF CHICAGO; Chicago police officers )    Judge Charles P. Kocoras
PATRICK BOYLE (star #975); JENNIFER           )
BURMISTRZ (star #14060); MATTHEW EVANS )
(star 5815); MICHAEL FLEMING (star #15085); )
JOHN FOERTSCH (star #9195); MICHAEL           )   Magistrate Judge Jeffrey T. Gilbert
HIGGINS (star #3766); PATRICK KENNEDY         )
(star #14414); JEFFREY LAWSON (star #8353) )
LIEUTENANT JAMES D. CASCONE (star #560); )
S. ANTISUK (star #6607); BARDSLEY             )   Jury Demanded
(star #13848); CUOMO (star #5853); SGT.       )
HROMA (star #1729); JAMES (star #4308);       )
KILPONEN (star #12854); LINKER (star #12858); )
LOPEZ (star #11987); MCCALLUM (star #16333); )
PANTANO (star #11886); ZENERE (star #17319); )
and unknown Chicago police officers,          )
                                              )
                           Defendants.        )

            PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’
               JOINT MOTION TO BIFURCATE AND STAY COUNT I


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       Plaintiffs respectfully submit the following response in opposition to defendants’ joint

motion to bifurcate and stay plaintiffs’ count I Monell claim (“defendants’ motion”):

I.     INTRODUCTION

       At stake in plaintiffs’ Monell claim, brought solely by the minor children, is discovery

into and City’s liability for the Chicago Police Department’s (“CPD”) pattern and practice of

using excessive force against young children. The U. S. Department of Justice (“DOJ”) 2017

investigative report concluded that CPD has a pattern or practice of using “excessive less lethal

force against children” (https://www.justice.gov/opa/file/925846/download, at 34)(last checked

April 30, 2019). Similarly, the 2016 mayoral-appointed Police Accountability Task Force

(“PATF”) report concluded: “The existing relationship between CPD and youth – particularly

youth of color – can be described as antagonistic, to say the least”; youth “are also being

mistreated by those who have sworn to protect and serve them”; and “[m]ost CPD officers are

not adequately trained or equipped to interact with youth.” (https://chicagopatf.org/wp

content/uploads/2016/04/PATF_Final_Report_4_13_16-1.pdf, at 54-55)(last checked April 30,

2019). However, in the wake of these conclusions, CPD has made zero reforms to address this

problem, with the result that plaintiffs E’monie, La’Niya, Legend and LaKai’ya Booth were

injured on August 9, 2018. (Third Amended Complaint (“TAC”), ¶¶ 179a-e and 136-164).

       In this case, plaintiffs allege that CPD SWAT officers needlessly pointed assault rifles in

the faces of the four children (who are ages 4, 8, 11 and 13) as well as at their mother and

grandmother in front of the children’s eyes when officers entered their apartment, the wrong

residence, to execute a search warrant for someone with whom they had no connection

whatsoever. (TAC, ¶¶ 33-71, 89). Defendant officers did not arrest or charge any plaintiff nor

find any contraband in plaintiffs’ home; rather, the target of the warrant and his gun were found



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in another building. (Id. ¶¶ 90-96). Plaintiffs were innocent victims of careless policing and

excessive force, and the children are now traumatized as the result. (Id. ¶¶ 109-128).

        By bringing a Monell claim, plaintiffs are acting as a “private attorney general”

vindicating the underlying Congressional intent for the Civil Rights Acts. Cadiz v. Kruger, 2007

U. S. Dist. LEXIS, 88458, at *26-32 (N. D. Ill. Nov. 29, 2007) (quoting City of Riverside v.

Rivera, 477 U. S. 561, 577 (1986)). Section 1983 “is designed to provide compensation for

injuries arising from the violation of legal duties, and thereby, of course, to deter future

violations” (emphasis added). City of Monterey v. Del Monte Dunes at Monterey, Ltd., 526 U. S.

687, 727 (1999); See also City of Riverside v. Rivera, 477 U. S. 561, 574-76 (1986); and Owen v.

City of Independence, 445 U. S. 622, 627 (1980). As set forth below, plaintiffs’ narrowly-

tailored, Monell claim is highly important to them and to the public interest. (Declaration of

Ebony Tate attached as Appendix A). The Monell discovery plaintiffs seek is limited and

moderate. And plaintiffs’ Monell claim does not depend on the outcome of their claims against

the individual officers.

        As this Court recently held, defendants’ motion to bifurcate is an attempt “to achieve a de

facto dismissal of the Monell claim” in order to avoid any discovery or merits adjudication.

Gomez v. Guevara, 18-cv-03335, Dkt. 65, at pp. 9-10 (N. D. Ill. April 8, 2019) (attached as

Appendix B). The City’s proposed “Limited Consent” judgment is illusory, “‘agreeing to pay a

judgment against its officers that the City may be statutorily or contractually obligated to pay

anyway.’” Id. at 10 (quoting Cadiz v. Kruger, 2007 U. S. Dist. LEXIS 88458, *34 (N. D. Ill.

Nov. 29, 2007)). 1 Most objectionable, City’s limited consent judgment “attempts to circumvent

the public policy goals of Monell claims by insulating the City from litigating and accepting


1
 The so-called “consent” is also not authorized by the Federal Rules of Civil Procedure and is, therefore,
procedurally deficient. Swanigan v. City of Chicago, 775 F. 3d 953, 959-62 (7th Cir. 2015).
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responsibility if their practices and policies result in constitutional injuries.” Giles v. Ludwig,

2013 U. S. Dist. LEXIS 172086, *10, note 1 (N. D. Ill. Dec. 6, 2013). To this end, defendants’

motion essentially seeks to take away plaintiffs’ choice of theories, claims and how to proceed

on their claims. Cadle v. City of Chicago, 2015 U. S. Dist. LEXIS 148344, *12 (N. D. Ill.

November 2, 2015). If City’s motion to bifurcate is granted, “it effectively deprives [plaintiffs]

of [their] right and ability to be the ‘master of [their] complaint and proof,’ and to proceed, as is

guaranteed by the Supreme Court and 42 U. S. C. § 1983, on [their] independent Monell claim

against the City.” Estate of McIntosh v. City of Chicago, 2015 U. S. Dist. LEXIS 116780, *33-

34 (N. D. Ill. Sept. 2, 2015). It is plaintiffs, not defendants, who are entitled to be the master of

their complaint and to pursue claims, even for minimal pecuniary award. Cadiz v. Kruger, 2007

U. S. Dist. LEXIS, 88458, at *19-20. 2

II.      PROCEDURAL POSTURE

         Plaintiffs have served their first and second sets of discovery requests, including Monell

requests, on all defendants (attached as Appendices C and D, respectively). Defendants’

standard motion to bifurcate and City’s offer of limited consent judgment seek, as usual, to

bifurcate and postpone discovery, litigation and trial on plaintiffs’ Monell claim. (Motion at 2).

Written Monell discovery is stayed pending the Court’s ruling on the motion.

III.     APPLICABLE STANDARDS FOR DECISION

         There is a recent and growing body of precedent in this district denying bifurcation in §

1983 cases. Gomez v. Guevara, 18-cv-03335, Dkt. 65 (N. D. Ill. April 8, 2019)(Kocoras, J.);

Mendez v. City of Chicago, 18-cv-5560 (N. D. Ill. Feb. 20, 2019)(transcript of bench ruling


2
 See also Rodriguez v. City of Chicago, 2018 U. S. Dist. LEXIS 120594, *10 (N. D. Ill. July 19, 2018);
Cadle v. City of Chicago, 2015 U. S. Dist. LEXIS 148344, at *9-10; Warren v. Dart, 2012 U. S. Dist.
LEXIS 70792, *6 (N. D. Ill. 2012); and Terry v. Cook County Dep’t of Corr., 2010 U. S. Dist. LEXIS
68623, at *5 (N. D. Ill. July 8, 2010).
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attached as Appendix E). 3 In Mendez, a pending case with the same Monell claim against the

City, Judge Lee denied a nearly identical motion to bifurcate, accepting the main arguments

plaintiffs make below. Id.

        While Fed. R. Civ. Pro 42(b) authorizes separate trials, this rule “is read in light of the

overarching policy principle behind the Federal Rules, which seeks the just, speedy, and

inexpensive resolution of every trial. Accordingly, because bifurcation risks additional delay, it

has remained the exception and not the rule.” A. L Hansen Mfg. Co. v. Bauer Products, Inc.,

2004 WL 1125911, at *2 (N. D. Ill. 2004); See also Real v. Bunn-O-Matic Corp., 195 F. R. D.

618, 620 (N. D. Ill. 2000)(“The piecemeal trial of separate issues in a single lawsuit is not to be

the usual course”); and Awalt v. Marketti, 2012 WL 1161500, at *10 n. 2 (N. D. Ill. 2012)(“The

Court has looked at every decision in this District involving bifurcation of Monell claims… since

the Seventh Circuit decided Cook County Sheriff’s Dept. It is clear that the weight of authority

holds that bifurcation is now heavily disfavored.”) (internal citations omitted).

        Despite defendants’ “one size fits all” motion, a court’s determination whether to grant or

deny bifurcation is a case-by-case decision, looking at the specific facts and claims in each case.

Id.; see also, Mendez v. City of Chicago, 18 C 5560, at p. 2 (N. D. Ill. Feb. 20, 2019) (Appendix

E); and Estate of McIntosh v. City of Chicago, 2015 U. S. Dist. LEXIS 116780, at *7.

        Finally, as the Seventh Circuit has made clear, bifurcation of the Monell claim in § 1983

actions expedites the disposition of a case only where the resolution of the claims against the



3
  See also Rodriguez v. City of Chicago, 2018 U. S. Dist. LEXIS 120594 (N. D. Ill. July 19, 2018); Scott
v. Bunich, 2018 U. S. Dist. LEXIS 53834 (N. D. Ill. March 30, 2018); Bonds v. City of Chicago, 2018 U.
S. Dist. LEXIS 41683 (N. D. Ill. March 14, 2018); Estate of Loury v. City of Chicago, 2017 U. S. Dist.
LEXIS 60459 (N. D. Ill. April 20, 2017); Cadle v. City of Chicago, 2015 U. S. Dist. LEXIS 148344 (N.
D. Ill. November 2, 2015); Estate of McIntosh v. City of Chicago, 2015 U. S. Dist. LEXIS 116780 (N. D.
Ill. Sept. 2, 2015); Giles v. Ludwig, 2013 U. S. Dist. LEXIS 172086 (N. D. Ill. Dec. 6, 2013); Warren v.
Dart, 2012 U. S. Dist. LEXIS 70792 (N. D. Ill. 2012).            .

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individual defendant officers will likely end the entire case. Swanigan v. City of Chicago, 775 F.

3d 953, 963 (7th Cir. 2015); Medina v. City of Chicago, 100 F. Supp. 2d 893, 895 (N. D. Ill.

2000); and Bonds v. City of Chicago, 2018 U. S Dist. LEXIS 41683, at *7.

IV.     STRUCTURE OF PLAINTIFFS’ MONELL AND NON-MONELL CLAIMS: THE
        GRAVAMEN OF LIABILITY AND HARM IS EXCESSIVE FORCE AGAINST
        THE CHILDREN

        Defendants’ motion to bifurcate glosses over the unique structure of plaintiffs’ claims.

For purposes of deciding whether to bifurcate, this structure matters. Count I, plaintiffs’ Monell

claim, is asserted solely by the child plaintiffs and is predicated exclusively on the use of

excessive force against children. (TAC, ¶¶ 170-194, especially ¶¶ 187-194, which is sub-titled,

“The City of Chicago’s De Facto Policies Resulted in Violations of Plaintiffs’ - Especially

E’monie, La’Niya, Legend and LaKai’ya’s – Constitution Right to be Free of Unnecessary or

Excessive Force”). All of the Monell polices and customs alleged in count I relate solely to the

use of excessive force against children (Id. ¶¶ 171-186), and plaintiffs’ Monell claim is not in

any way based on and does not incorporate by reference the factual allegations that are the basis

for plaintiffs’ illegal search and false arrest claims against the individual defendants in remaining

counts II – VIII. (Id. ¶¶ 170-194; ¶¶ 195 - 269). ¶ 170 of count I incorporates only those factual

allegations that constitute or are the background for excessive force. In contrast to plaintiffs’

Monell claim, counts II – III, the § 1983 counts against the individual defendants, are brought by

all plaintiffs for unlawful search and false arrest. Plaintiffs’ complaint does not contain a

separate § 1983 count against the defendant officers for excessive force. 4


4
 Because they wish to proceed on their Monell count, plaintiffs did not include in their complaint a
separate count for excessive force against the defendant officers. If the court is inclined to bifurcate, then
plaintiffs may amend to add a count for excessive force against the individual defendants. While a
reference to excessive force is included in plaintiffs’ count III, § 1983 unreasonable manner of entry and
search, excessive force is not the thrust of that claim. Plaintiffs are willing to strike that reference in
count III and dismiss counts V and VII if necessary in order to proceed on their Monell claim.
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        Finally, excessive force is not only the predicate for plaintiffs’ Monell claim but also the

gravamen of plaintiffs’ complaint. The TAC’s introduction (¶¶ 1-12), the thematic subtitles in

the fact section (at pp. 7, 10, 23, and 24) and the fact that the first count is the children’s Monell

count, should make it clear that, at least to the plaintiffs, this is primarily an excessive force case.

Similarly, by far the most serious and lasting injury alleged to have been sustained by plaintiffs

is the psychological harm to the children from officers’ excessive force against them and against

their mother and grandmother, which the children witnessed. (TAC, ¶¶ 136-169).

        A.      Plaintiffs’ Monell Claim is Narrowly Drawn and Laser-Focused on the
                Absence of CPD Policy and Reform to Prevent Officer Excessive Force
                Against Young Children

        The heart of plaintiffs’ Monell policy claim is that the City fails to protect young children

from officers’ use of excessive force, particularly during the execution of residential search

warrants. (TAM, ¶¶ 171, 176, 181). The plaintiffs asserting the Monell claim are limited to the

four children. (Id. ¶ 170). Moreover, where, as here, plaintiffs allege that City’s Monell

practices are deficient in a very specific and narrow way, Monell discovery will not be a

significant burden. Wilson v. City of Chicago, 2008 U. S. Dist. LEXIS 60658, at *6-7 (N. D. Ill.

July 24, 2008) (allegation that police training to deal with mentally ill people was deficient). For

instance, plaintiffs’ Monell claim focuses prominently on the absence of provisions in CPD

policy, supervision, and training requiring officers to take steps to avoid the use of excessive or

unnecessary force against and in the presence of children. (TAM, ¶¶ 172-174). Plaintiffs’

allegation of a failure to investigate and discipline officers is limited to instances of excessive

force against children. (Id. ¶ 175). Plaintiffs’ allegations of deliberate indifference are limited to

City’s awareness of specific conclusions contained in publicly available investigative reports and

City’s subsequent failure to make specifically enumerated reforms addressing those conclusions



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of a pattern and practice of excessive force against children. (Id. ¶¶ 177, 179a-e and 186).

Plaintiffs’ also allege that City has specific policies that encourage SWAT officers to use

excessive force against children and that City has a code of silence pursuant to which fellow

SWAT officers did not report those who pointed their guns at the children. (¶¶ 180, 182-183).

V.      ARGUMENT

        A.      The Monell Discovery Plaintiffs Seek is Narrow, Specific and Moderate

        Contrary to City’s speculation (motion at 5, 6) 5, the discovery plaintiffs seek is narrowly

focused and moderate, concentrating on the specific ways in which City’s policies and practices

are deficient. (See requests for admission 7-23 and requests for production 64-93 in Appendices

C and D). Here there is no reason to believe that plaintiffs’ Monell discovery will be a fishing

expedition. Wilson v. City of Chicago, 2008 WL 4874148, at *2. Courts are now skeptical of

the City’s exaggerated, non-specific and speculative claims about the high costs of Monell

discovery, like City’s assertion here, and routinely reject them. Rodriguez v. City of Chicago,

2018 U. S. Dist. LEXIS 120594, at *11. 6 Where a plaintiff makes representations to the Court

that his Monell discovery will be moderate and this allays the court’s concern about overbreadth,

courts usually the motion to bifurcate discovery. Estate of Loury v. City of Chicago, 2017 U. S.

Dist. LEXIS 60459, at *11; Cadle v. City of Chicago, 2015 U. S. Dist. LEXIS 148344, at *5;

Allison v. Gallagher, 2012 U. S. Dist. LEXIS 144138, *4-5 (N. D. Ill. October 5, 2012).




5
 For example, there is no basis in plaintiffs’ TAC or discovery requests for defendants’ fabricated
assertion on page 6 of their motion that plaintiffs will seek to depose witnesses from the Mayor’s office or
the City Council.
6
 See also Scott v. Bunich, 2018 U. S. Dist. LEXIS 53834, at *19-20; Bonds v. City of Chicago, 2018 U. S.
Dist. LEXIS 41683, at *12; Cadle v. City of Chicago, 2015 U. S. Dist. LEXIS 148344, at *4-5; and Cadiz
v. Kruger, 2007 U. S. Dist. LEXIS 88458, at *10.
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       Consistent with their narrowly drawn Monell claim in this case, the child plaintiffs’

discovery: foregoes discovery of a generalized failure to train, supervise, intervene, investigate

and discipline officers for the use of excessive force (against adults), except in limited instances

where potential evidence may not distinguish between adults and children; foregoes discovery of

a generalized failure to train, supervise, intervene, investigate and discipline officers for all

misconduct involving children; focuses largely on confirming the absence of CPD policies and

training requiring officers to take steps to avoid using force against children; relies heavily on

publicly available documents, so as not to overly burden the City; and is limited to a six-year

period (the proposed “Monell period”). Stated affirmatively, plaintiffs seek Monell discovery of

just three, discrete customs or policies as follows: 1) the existence of a custom of excessive

force against young children in the six years preceding the incident date of August 9, 2018; 2) a

failure to investigate and discipline such allegations/incidents; and 3) an absence during this

period of official policy and training to proscribing ore discouraging excessive force against or in

the presence of children.

       Plaintiffs’ first set of discovery requests, the vast majority of which are non-Monell

requests, focus in laser beam fashion on these three customs. (See Appendix C). Moreover, I

permitted to do Monell discovery, plaintiffs will conduct discovery in the following ways that

limit the City’s discovery burden. To discover the existence of the first custom above, a pattern

of excessive force against young children, plaintiffs will rely primarily on key conclusions from

a few pages of the publicly available DOJ and PATF reports, with or without witnesses. Because

these reports are publicly available, this would not burden the City. Plaintiffs will also seek

discovery of a time-limited set of CPD electronic data for the number of citizen complaints of 1)

excessive force and 2) home searches where a child was a complainant, victim or witness. These



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are straightforward searches performed on CPD’s electronic complaint databases that are

standard in Monell cases. In 2016, plaintiffs’ and City’s counsel did this precise search for a

five-year period in Simmons v. City of Chicago, and City is currently performing this search for a

five-year period in Mendez v. City of Chicago, et al. So, it need only do the same search again

here. Bonds v. City of Chicago, 2018 U. S. Dist. LEXIS 41683, *12 (N. D. Ill. March 14, 2018).

       To discover evidence of the second custom, a failure to investigate and discipline

complaints of excessive force against young children, plaintiffs will rely on key conclusions

from the accountability sections of the DOJ and PATF reports, not document production from

CPD. Using the same electronic complaint data search results described above, plaintiffs will

also analyze CPD data points such as the number of child excessive force complaints filed, the

number investigated, the number sustained/not sustained, and the number where discipline was

imposed/reduced/not served. In order to show examples of City’s failure to investigate and/or

discipline excessive force against children, plaintiffs will discover, from a review of “face

sheets” (1-page summaries of officer complaint register (“CR”) files), some summary digest

reports and a limited number of full CR investigative files, a small number of instances, factually

similar to this case, in which officers were alleged or found to have used excessive force against

young children, and the ensuing investigation, finding or discipline was non-existent, inadequate

or flawed.

       Third, to discover the absence of official policy to protect children from unnecessary use

of force, plaintiffs will conduct confirmatory discovery that CPD lacks the policies and training

curriculum set forth below. Current versions of CPD written policies (regarding use of force,

search warrants, body cameras) are publicly available on the internet in searchable format, so




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City would only have to produce any prior versions six years before the incident. Plaintiffs’

discovery will confirm that City does not have:

   •   explicit officer training to avoid the use of force against and in the presence of children

       whenever possible and to use a trauma-informed approach to policing children and their

       families; as part of the procedure for obtaining residential search warrants, explicit officer

       training to determine whether children live in the targeted residence, to determine when

       they are likely to be away from home, to execute warrants at times when children are not

       likely to be home, and training in de-escalation for instances when officers enter a

       residence and unexpectedly encounter children;

   •   a use-of-force policy that explicitly requires officers to avoid using force against or in the

       presence of children whenever possible; and a requirement to use a trauma-informed

       approach to policing children and their families in situations when some force may be

       necessary, especially during the execution of residential search warrants; and

   •   as part of the procedure for obtaining residential search warrants, an explicit requirement

       to determine if children live in the residence and, if so, to determine when they will be

       away from the residence; as part of the policy for executing residential search warrants,

       an explicit requirement for officers to take precautions to avoid traumatizing children

       when entering residences, such as executing warrants at times when children are not

       likely to be home and de-escalation of tactics when officers enter and unexpectedly

       encounter children;

Finally, plaintiffs seek confirmatory discovery that at least one policymaker, such as the CPD

Superintendent, was aware of DOJ’s and PATF’s conclusions and recommendations for reform

regarding excessive force and children and that CPD nevertheless did not make any of the


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reforms enumerated above before the incident date, including in the Consent Decree. Again,

both CPD reforms (if announced, as they usually are) and the Consent Decree are publicly

available documents and, therefore, impose no burden on the City. Relatedly, plaintiffs would

seek to confirm that CPD has rejected offers of training from independent agencies that provide

1) officer training in trauma-informed policing with children and 2) consulting services to assist

departments in formulating use-of-force policies that are cognizant of children.

       For oral discovery, plaintiffs seek six or less short depositions of CPD/City witnesses on

the topics above in order to discover City’s positions on plaintiffs’ evidence. Plaintiffs will also

ask defendant officers some Monell-related questions at their depositions regarding their training

and their understanding of and compliance with CPD policies. Plaintiffs will likely have two

Monell experts, one a police practices expert who they will also use for non-Monell, police

practice issues as well. Based on the discovery outlined above, plaintiffs’ experts would render

opinions on plaintiffs’ three, discrete Monell customs. Depending on defendants Monell rebuttal

evidence, if any, plaintiffs reserve the right to broaden the scope of Monell discovery

proportionally.

       B.         Defendants’ Discovery Proposal is Impractical

       Defendants’ proposed stay of Monell discovery would realize cost savings “only if one

assumes that the parties are never required to go back and conduct Monell discovery at some

later date.” Cadiz v. Kruger, 2007 U. S. Dist. LEXIS 88458, at *13 (N. D. Ill. Nov. 29, 2007).

For reasons addressed below, this is not a reliable assumption. Moreover, City ignores the fact

that there is significant, factual overlap in the witnesses, likely experts, and evidence that would

be involved in each phase of bifurcated litigation. This overlap could create double work for the

parties in terms of taking depositions and soliciting trial testimony. Gomez v. Guevara, 18-cv-



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03335, Dkt. 65, at 8-9 (Appendix B). For example, plaintiffs need to ask defendant officers

about their understanding of and compliance with CPD use-of-force and search warrant policies,

which do not require officers to avoid force against young children. In a bifurcated case,

plaintiffs would need to depose them twice and call them as witnesses in both trials. This would

decrease, not increase, judicial economy.

        Finally, as defendants conceded (motion at 5), in this case discovery will be substantial

with or without discovery into the Monell claim, so staying the latter would yield only marginal

savings of time an expense. Cadiz v. Kruger, 2007 U. S. Dist. LEXIS, 88458, at *13. For

example, plaintiffs will still disclose the same number of liability and damages experts, which

means defendants likely will as well. In fact, fewer depositions are needed on plaintiffs’ Monell

claim than on their claims against the officers, given that an entire SWAT team, gun team and

(according to some sources) the FBI participated in obtaining and executing the search warrant

for plaintiffs’ apartment. 7 If the Court is inclined to make some bifurcation, then under these

circumstances a greater savings of the court’s and parties’ resources would result if the Court

stayed the individual claims and ordered discovery and trial on the Monell claim first. Simmons

v. City of Chicago, 2017 U. S. Dist. LEXIS 222887, *3-4 (N. D. Ill. Aug. 29, 2017).

        C.      Bifurcation Would Waste Judicial Resources Because Plaintiffs’ Monell
                Claim Does Not Depend on the Outcome of their Claims Against the
                Individual Defendants

                1.      The Structure of Plaintiffs’ Claims Favors Unitary Discovery and
                        Trial



7
 Although plaintiffs have named 20 defendant officers (because it was not yet clear which officers were
actually involved in obtaining the search warrant for plaintiffs’ apartment and in making the final decision
to execute it or which officers pointed guns at plaintiffs), plaintiffs do not expect to depose all of them,
and they do expect to dismiss half or more of them before discovery ends. Plaintiffs believe that only a
handful of officers were involved in obtaining the warrant and in pointing guns at plaintiffs. Plaintiffs
have every financial and time-management interest in keeping discovery contained.
                                                    12
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        Given the unique structure of plaintiffs’ claims in this case and the fact that defendant

officers assert qualified immunity defenses, bifurcation would not only not expedite the case but

would prolong and complicate discovery and require two, largely duplicative trials. Under

defendants’ proposal, plaintiffs’ Monell claim would not be ready for trial when their claims

against the officers go to trial.

        First, defendants’ motion simply glosses over the fact that the children’s Monell claim is

factually distinct from plaintiffs’ § 1983 claims against the individual officers. (Motion at 4-5).

Based on this glaring omission, defendants argue, falsely, that plaintiffs’ Monell claim fits the

Swanigan mold for bifurcation when it does not. In this case, City’s liability on the

Monell/excessive force claim is not dependent on the outcome of plaintiffs’ illegal search and

false arrest claims against the individual officers. Thus, plaintiffs’ search warrant and false arrest

claims against defendant officers could all fail, and plaintiffs’ Monell claim would still pend,

unresolved. That is to say, even if all of the claims against the officers were resolved in their

favor at summary judgment or trial, the case would not end: plaintiffs’ Monell count, the only

count premised on excessive force, would still be left. “A stay of Monell discovery pre-supposes

that the Monell claim never will be tried, and that is not necessarily an appropriate assumption.”

Cadle v. City of Chicago, 2015 U. S. Dist. LEXIS 148344, at *7. How then would the excessive

force allegations in plaintiffs’ Monell claim be tested at summary judgment or trial if there’s no

claim for excessive force against the officers?

                2.      Defendant Officers’ Assertion of Qualified Immunity Creates an
                        Unresolved “Liability Gap” That Requires Denial of Defendants’
                        Motion

        Second, defendants’ fundamental thesis that bifurcation makes sense because an adverse

finding as to plaintiffs’ individual claims would necessarily dispose of the children’s Monell



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claim “is not necessarily accurate” for an additional reason. Cadle v. City of Chicago, 2015 U. S.

Dist. LEXIS 148344, at *6-7. In Thomas v. Cook County Sheriff’s Dept., 604 F. 3d 293, 305 (7th

Cir. 2009), the Seventh Circuit rejected the City’s argument and explained that there is no hard

and fast rule that individual officer liability is always required in order to find liability under

Monell. The Court found that, “a municipality may be held liable under Monell, even when its

officers are not, unless such a finding would create an inconsistent verdict.” (Id.). In other

words, a jury could find the defendant officers who carried out the City’s policies not liable by

reason of their defense of qualified immunity but still hold the City liable by finding that those

policies caused the violation of plaintiffs’ constitutional rights. This is a Thomas-type case.

        In this case, all defendant officers have asserted qualified immunity as an affirmative

defense, (Defendant Officers Answer to Plaintiffs’ Third Amended Complaint, Dkt. 72, p. 66,

affirmative defense #1), and they have not offered to waive it. Thus, in a bifurcated case, if

defendant officers are found immune at summary judgment or trial, then there would be no

defendant left to try the case against, and bifurcation would not avoid a second, duplicative trial.

Simmons v. City of Chicago, 14-cv-09042 (N. D. Ill. June 29, 2015) (transcript of bench ruling

on City’s motion to bifurcate attached as Appendix F)(“Now there’s nobody left… There’s no

party left to try the case against. It’s not workable”); see also Estate of McIntosh v. City of

Chicago, 2015 U. S. Dist. LEXIS 116780 at *27-28.

        Courts in this District now analyze the propriety of bifurcation bearing in mind that a

municipal policy can cause a constitutional deprivation even if a jury finds the individual officers

not liable. See e.g., Gomez v. Guevara, 18-cv-03335, Dkt. 65, at 6-8 (Appendix B). In this case,

not all of plaintiffs asserted Monell customs would require clear, official misconduct on the part

of the individual defendants. For example, an officer who enters a residence to execute a search



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warrant when children are present and points his gun at all of the occupants, including young

children, may be found to have simply followed the City’s current training and policies, which

do not require an officer obtaining or executing a search warrant to determine beforehand if

children live in the residence, to determine when children are likely to not be home, to make an

effort to execute the warrant at a time when the children are not likely to be home, and to de-

escalate officers’ usual, forceful entry tactics if they unexpectedly encounter young children.

Absent a clear prohibition in CPD training and policy against pointing guns at young children

when entering a residence to execute a search warrant, officers at least have a qualified immunity

argument to make to the jury. Thus, because here City may be held liable under plaintiffs’

Monell claim without a finding that the individual officers engaged in clearly proscribed conduct,

bifurcation would not serve judicial economy. Gomez v. Guevara, 18-cv-03335, Dkt. 65, at 6-8

(Appendix B). 8 Thus, it is both “not necessarily accurate” and “premature” for defendants to

assert there can be no Monell liability in the absence of underlying individual liability. Cadle v.

City of Chicago, 2015 U. S. Dist. LEXIS 148344, at *6-7.

        D.      Plaintiffs Would Suffer Prejudice from Bifurcation: It Would Prevent Them
                from Pursuing the Most Important Relief to Them

        Defendants argue that the only value in plaintiffs’ Monell claim is monetary, misstate that

plaintiffs only seek monetary damages, and ignore plaintiffs’ prayer for injunctive relief.

(Motion at 7; TAC, ¶¶ 165-69 and p. 46). However, plaintiffs have important, public interest

motivations and objectives – such as protecting other children against unnecessary and excessive



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 Moreover, defendants’ argument that an adverse ruling on the individual claims would dispose of the
Monell claim rests on City of Los Angeles v. Heller, 475 U. S. 796, 799 (1986), (motion at p. 4), but in
Heller jurors were not instructed on any affirmative defense that the officer may have asserted, and they
were not presented with any qualified immunity issues. Thomas v. Cook County Sheriff’s Dept., 604 F.
3d 293 at 304. In fact, few, if any, of the decisions City cites in favor of bifurcation were decided post-
Thomas.
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force - that would be furthered by a judgment holding the City liable on the Monell claim.

(Appendix A, at 2-3). Courts acknowledge that, even if there are no additional financial benefits

to maintaining a Monell claim, there are “legitimate” and “critical reasons” why plaintiffs may

wish to do so. Estate of Loury v. City of Chicago, 2017 U. S. Dist. LEXIS 60459, at *15-17; see

supra. A judgment against the City can be a “catalyst for a change” that encourages the City to

reform the practices that led to constitutional violations and to alert citizens to the issue.

McIntosh v. City of Chicago, 2015 U. S. Dist. LEXIS 116780, at *34-35. It can also deter future

official misconduct whereas mere monetary compensation may not. Giles v. City of Chicago,

2013 U. S. Dist. LEXIS 172086, at *8. Such relief provides non-monetary benefits not only to

plaintiffs but to society generally. Cadle v. City of Chicago, 2015 U. S. Dist. LEXIS 148344, at

*10. A verdict against the City, as opposed to mere “rogue” officers, can shine a light on

unconstitutional policies and could achieve future deterrence and reform in police practices with

children. Medina v. City of Chicago, 100 F. Supp. 2d 893, at 896-97. Only a verdict against the

City could achieve these important, non-economic objectives. Medina v. City of Chicago, 100 F.

Supp. at 896; Cadiz v. Kruger, at *32 (bifurcation would render these possible benefits “a dead

letter”).

        Plaintiffs included a Monell claim because they seek the public interest in holding the

City accountable for its actions and inaction in failing to protect young children against police

officers’ excessive force. Plaintiffs feel strongly about their Monell claim. (Appendix A).

While they understand they could win money damages from the officers without pursuing their

Monell claim, they want to be a voice for reform and deterrence. (Id.).

        In this case, the public interest in preventing or reducing future violations is great. If

excessive force is unconstitutional when used against adults, it is far more egregious and harmful



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when directed at innocent and defenseless young children who, as a result, can be emotionally

scarred for life. This makes the non-economic incentives in this case great and argues in favor of

allowing plaintiffs to proceed on their Monell claim.

       E.      Defendants’ Remaining Arguments for Bifurcation Also Fail

       Defendants also argue that evidence presented at a joint trial would cause prejudice to

defendants. (Motion at 8-11). This argument made at this at this stage is universally recognized

as being premature when neither party nor the court “has the least idea” what the evidence at trial

will be. Medina v. City of Chicago, 100 F. Supp. 2d 893, 897. 9 The time to evaluate the

prejudice issue is shortly before trial. Bonds v. City of Chicago, 2018 U. S. Dist. LEXIS 41683,

at *15. In any event, such potential prejudice can be addressed through the use of motions in

limine and limiting instructions. Gomez v. Guevara, 18-cv-03335, Dkt. 65, at 4 (Appendix B);

and Cadle v. City of Chicago, 2015 U. S. Dist. LEXIS 148344, at *9. In the meantime,

“[d]iscovery proceeding simultaneously on all claims does not prejudice defendants….” Estate

of Loury v. City of Chicago, 2017 U. S. Dist. LEXIS 60459, at *13-14; see also Cadiz v. Kruger,

2007 U. S. Dist. LEXIS, 88458, at *16.

VI.    CONCLUSION

       For at least the reasons stated above, the Court should deny in full City’s motion to

bifurcate issues.

                                                        Respectfully submitted,



                                                        s/Al Hofeld, Jr.
                                                        Al Hofeld, Jr.

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 See also Rodriguez v. City of Chicago, 2018 U. S. Dist. LEXIS 120594, at *12; Scott v. Buncich, 2018
U. S. Dist. LEXIS 53834, at *21; Estate of Loury v. City of Chicago, 2017 U. S. Dist. LEXIS 60459, at
*9-10; and Cadle v. City of Chicago, 2015 U. S. Dist. LEXIS 148344, at *9.
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     NOTICE OF FILING AND CERTIFICATE OF SERVICE BY ELECTRONIC MEANS

       I, Al Hofeld Jr., attorney for plaintiffs, hereby certify that on April 30, 2019, filing and
service of the foregoing Plaintiffs’ Response in Opposition to Defendants’ Joint Motion to
Bifurcate and Stay Count I, was accomplished pursuant to ECF as to Filing Users, and I shall
comply with LR 5.5 as to any party who is not a Filing User or represented by a Filing User.


                                             /s/ Al Hofeld, Jr.
                                             Al Hofeld, Jr.

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